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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )      CRIMINAL ACTION NO.
        v.                            )         2:20cr102-MHT
                                      )              (WO)
KEYIWAN RECHARD HUMPHREY              )

                                    ORDER

    This cause is before the court on defendant Keyiwan

Rechard Humphrey’s unopposed motion to continue trial.

For the reasons set forth below, the court finds that

jury selection and trial, now set for October 19, 2020,

should be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,      785   F.2d    1506,     1516   (11th   Cir.   1986),     the

court    is   limited      by   the   requirements     of   the   Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in an
    information or indictment with the commission
    of an offense shall commence within seventy
    days from the filing date (and making public)
    of the information or indictment, or from the
    date the defendant has appeared before a
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      judicial officer of the court in which such
      charge is pending, whichever date last occurs."

§ 3161(c)(1).        The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          § 3161(h)(7)(A).            In     granting      such     a

continuance,        the    court     may    consider,      among     other

factors, whether the failure to grant the continuance

"would be likely to ... result in a miscarriage of

justice,"      § 3161(h)(7)(B)(i),         or     “would   deny    counsel

for the defendant ... the reasonable time necessary for

effective preparation, taking into account the exercise

of due diligence,” § 3161(h)(7)(B)(iv).                    The Act also

excludes from the 70-day period “delay resulting from

any     proceeding,        including        any     examinations,         to

determine the mental competency or physical capacity of

the defendant.”        § 3161(h)(1)(6).




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      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Humphrey in a speedy trial.

Humphrey’s      counsel        represents    that    she     has   filed    a

separate motion to continue the deadline for pretrial

motions for at least 30 days, based upon concerns that

Humphrey      may   not    be    competent     and    the    need   for     a

competency      evaluation.         She     notes    that,    should      the

motion to continue deadlines be granted, the deadline

for pretrial motions would be within two weeks of the

current trial date.              That would not leave the court

with sufficient time to consider any pretrial motions

that are filed.           There is no indication of a lack of

due    diligence     on   counsel’s       part.      In    addition,      the

government       does     not      oppose     the     requested      trial

continuance.        The court finds that a continuance of the

trial is necessary in order to allow sufficient time

for    Humphrey     to    be    evaluated,     consult      experts,      and



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prepare     and    file   pretrial        motions,   and    to    give    the

court sufficient time to consider such motions.

                                ***

      Accordingly, it is ORDERED as follows:

      (1) Defendant Keyiwan Rechard Humphrey’s unopposed

motion to continue trial (doc. no. 35) is granted.

      (2)    The   jury     selection      and    trial,    now    set    for

October 19, 2020, are reset for December 7, 2020, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson

Jr.    United      States     Courthouse         Complex,    One    Church

Street, Montgomery, Alabama.

      The United States Magistrate Judge shall conduct a

pretrial conference prior to the December trial term.

      DONE, this the 14th day of September, 2020.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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